                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION - DETROIT


IN RE:
SONYA MARIE WILKINS                                 CASE NO: 17-51173
                                                    CHAPTER: 13
                                                    JUDGE:   OXHOLM
                   Debtor(s)        /

    DEBTOR'S OBJECTION TO PROOF OF CLAIM FILED BY THE MICHIGAN
                DEPARTMENT OF TREASURY (CLAIM #9)

      NOW COMES the Debtor, Sonya Marie Wilkins, by and through her attorneys, B.O.C.
Law Group, P.C., and in support of this objection states the following:

             1. Debtor filed for relief under Chapter 13 of the United States Bankruptcy Code
                on August 4, 2017.

             2. Debtor's Chapter 13 Plan, filed on or about August 18, 2017, is pending
                confirmation, scheduled for February 5, 2018 @ 10:00 am.

             3. That on December 11, 2017, creditor Michigan Department of Treasury, filed
                a Proof of Claim, identified as Claim #9 on the Court's claim register.

             4. Claim #9 asserts the following claim(s): a) an unsecured priority claim for tax
                years 2015 and 2016 in the amount of $7,134.23 (based upon an allegedly
                unfiled return); and b) a general unsecured claim for 2015 and 2016 tax
                (again, for alleged unfiled returns) and Driver’s Responsibility fees.

             5. Debtor hereby files this objection pursuant to FRBP 3007, and asserts the
                claim of the Michigan Department of Treasury should be partially disallowed,
                for the following reason(s):

                      a. Debtor did not earn sufficient taxable income for either 2015 or 2016 to
                 meet the threshold required to invoke mandatory filing of a tax return for
                 these years. This is evidenced by a sworn affidavit filed with this Court on
                 September 14, 2017 [Docket #26]. Therefore, there is no basis for the
                 Michigan Department of Treasury to be paid anything on its proof of claim as
                 it relates to estimated liabilities to the State of Michigan and/or City of Detroit
                 for tax years 2015 and 2016.

             6. Debtor requests this objection be granted pursuant to the terms of the attached
                Order.




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      WHEREFORE Debtor prays this Honorable Court sustain her objection to the claim of
Michigan Department of Treasury and for what further relief this Court deems equitable and just.




                                                   Respectfully submitted,


Dated: December 18, 2017                           /s/ Corey M. Carpenter
                                                   B.O.C. Law Group, P.C.
                                                   By: Corey M. Carpenter (P67818)
                                                   Attorneys for the Debtor
                                                   24100 Woodward Avenue, Suite B
                                                   Pleasant Ridge, Michigan 48069
                                                   Phone: (248) 584-2100
                                                   coreycarpenter@boclaw.com




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                               EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION - DETROIT


IN RE:
SONYA MARIE WILKINS                                          CASE NO:      17-51173
                                                             CHAPTER:      13
                                                             JUDGE:        OXHOLM
                      Debtor(s)        /

              ORDER GRANTING DEBTOR'S OBJECTION TO PROOF OF CLAIM
            FILED BY THE MICHIGAN DEPARTMENT OF TREASURY (CLAIM #9)

        This matter having come on for hearing before the Court by way of the objection of the Debtor to
the allowance of the claim(s) of the above referenced creditor, service having been made with a notice of
hearing allowing a thirty-three (33) day notice pursuant to Bankruptcy Rule 3007, no timely response
having been filed, a Certificate of Non-Response having been filed with the Court, and the Court being
fully advised in the premises;

        NOW THEREFORE, IT IS HEREBY ORDERED THAT:

        The objection to the Proof of Claim(s) filed by the Michigan Department of Treasury above-
referenced Creditor is hereby granted. To the extent the Chapter 13 Trustee has made disbursements to
this creditor, he shall not be obligated to recoup same.

        IT IS FURTHER ORDERED as follows: [Only provisions checked below apply]

        [XX] Claim #9 shall be paid/treated as follows: (1) the unsecured priority portion of the claim sis
        hereby disallowed and the Chapter 13 Trustee shall make no disbursements thereon; and (2) the
        general unsecured portion of the claim is hereby reduced to $1,000.00 (covering the drivers
        responsibility portion of the claim, only) and shall be treated as a general unsecured claim
        pursuant to the terms of Debtor’s Chapter 13 Plan, as confirmed.




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                                   UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION - DETROIT


IN RE:
SONYA MARIE WILKINS                                              CASE NO:          17-51173
                                                                 CHAPTER:          13
                                                                 JUDGE:            OXHOLM
                     Debtor(s)       /
Address: 15764 Wisconsin, Detroit, MI 48238
Last four digits of Social Security or Employer's Tax Identification (EIN) No(s).(if any): xxx-xx-1727

                                      NOTICE OF OBJECTION TO CLAIM

         BOC Law Group, P.C. has filed an objection to your claim in this bankruptcy case.

         Your claim may be reduced, modified, or disallowed. You should read these papers carefully and
discuss them with your attorney, if you have one.

         If you do not want the court to disallow or change your claim, then on or before
January 29, 2018, you or your lawyer must:

1.       File with the court a written response to the objection, explaining your position, at:

                                               U.S. Bankruptcy Court
                                                211 West Fort Street
                                                  Detroit, MI 48226

                  If you mail your response to the court for filing, you must mail it early enough so that the
         court will receive it on or before the date stated above. All attorneys are required to file pleadings
         electronically.

         You must also send a copy to:
                                               BOC Law Group, P.C.
                                              24100 Woodward Avenue
                                              Pleasant Ridge, MI 48069

2.       Attend the hearing on the objection, scheduled to be held on February 5, 2018 , at 10:00a.m. in Courtroom 1875 ,
United States Bankruptcy Court, 211 West Fort Street, Detroit, MI 48226, unless your attendance is excused by mutual
agreement between yourself and the objector’s attorney. (Unless the matter is disposed of summarily as a matter of law, the
hearing shall be a pre-trial conference only; neither testimony nor other evidence will be received. A pre-trial scheduling
order may be issued as a result of the pre-trial conference.)

        If you or your attorney do not take these steps, the Court may deem that you do not oppose the
objection to your claim, in which event the hearing will be canceled, and the objection sustained.

Date: December 18, 2017                                /s/ Corey M. Carpenter
                                                       B.O.C. Law Group. P.C.
                                                       Corey M. Carpenter (P67818)
                                                       Attorneys for Debtor
                                                       24100 Woodward Avenue
                                                       Pleasant Ridge, MI 48069
                                                       248-584-2100
                                                       coreycarpenter@boclaw.com




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IN RE:
SONYA MARIE WILKINS                                    CASE NO:       17-51173
                                                       CHAPTER:       13
                                                       JUDGE:         OXHOLM
                    Debtor(s)       /

                                   CERTIFICATE OF SERVICE


       Corey M. Carpenter hereby certifies that on December 18, 2017 a copy of the Debtor's

Objection to the Proof of Claim of the Michigan Department of Treasury (Claim #9), Proposed

Order, Notice of Objection and Hearing and Certificate of Service, was served upon the following

parties using the ECF System and via Regular Mail:

Tammy Terry                         Michigan Attorney General
Chapter 13 Trustee                  3030 West Grand Boulevard, Suite 10-200
535 Griswold St., Ste. 2100         Detroit, MI 48202
Detroit, MI 48226                   (Regular Mail)
(ECF ONLY)


Michigan Department of Treasury
PO Box 30168
Lansing, MI 48909
(Regular Mail)




                                                       Respectfully submitted,


Dated: December 18, 2017                               /s/ Corey M. Carpenter
                                                       B.O.C. Law Group, P.C.
                                                       By:     Corey M. Carpenter (P67818)
                                                       Attorneys for the Debtor
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